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FoR THE wESTERN DISTRICT oF TENNESSEE ' 15.*110: 31
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MARK J. CHIDESTER,

Plaintiff,
No. 02-2556 Ma/A
CITY OF MEMPHIS, et al.,

Defendants.

 

ORDER GRANTING DEFENDANTS KEN LANDRY'S AND BEN'NETT MORRIS’
MOTIONS TO DISMISS AN'D DEN'YING DEFENDANT MICHAEL REYNOLDS' MOTION
TO DISMISS

 

Plaintiff Mark Chidester brings this action under 42 U.S.C. §
1983, alleging that Memphis and Shelby County police officers
violated his First, Fourth, Sixth, and Fourteenth.Amendment rights.
Chidester also brings state law claims of assault, intentional
infliction of emotional distress, and official misconduct.
Chidester’s amended, complaint names as defendants the City' of
Memphis; Shelby County; W.E. Crews in his personal and official
capacity as Director of the Memphis Police Department; A.C. Gilless
in his personal and official capacity as Sheriff of Shelby County;
Sergeant D.L. Bickerstaff in his personal and official capacity as
an officer of the Memphis Police Department; Officer J.H. Thomas in
his personal and official capacity as a deputy of the Shelby County

Sheriff's Department; Officer Michael R. Reynolds in his personal

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and official capacity as a police officer of the Shelby County
Sheriff’s Department; Sergeant Bennie Morris in his personal and
official capacity as a sergeant of the Shelby County Sheriff's
Department; and Lieutenant Ken Landry in his personal and official
capacity as a lieutenant and official of the Internal Affairs
Division of the Shelby County Sheriff’s Department. Chidester seeks
declaratory relief and compensatory and punitive damages.

On January 11, 2005, Officers Reynolds, Morris and Landry each
filed a motion to dismiss Chidester’s claims against him under 42
U.S.C. § 1983.1 Chidester responded to all three motions to dismiss
on January 27, 2005. The three defendants filed a reply to
Chidester’s response on February ll, 2005. Chidester filed an
objection to the three defendants’ reply on February 28, 2005. For
the following reasons, defendants Landry's and Morris' motions to
dismiss are GRANTED and defendant Reynolds' motion to dismiss is
DENIED.

I. Background

The following facts are undisputed, unless otherwise noted.
Chidester alleges that on or about December 8, 2001, thirty minutes
after leaving the scene of a car accident, he returned to find that
his vehicle had been towed and police officers were on the scene.

(Am. Compl. at II IV.l-B.) The police officers on the scene were

 

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This order does not address whether Chidester has stated state law claims
against Officers Landry, Morris and Reynolds. If state law claims against these
defendants exist, those claims are not dismissed by this order.

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Sergeant Bickerstaff, Officer Thomas and Officer Reynolds. (Id. at
H IV.15.) Chidester turned himself in to Shelby County Officer
Thomas, “stating that he wished to go immediately to jail.” (Id. at
q IV.4.) Officer Thomas and Sergeant Bickerstaff attempted to
perform a field sobriety test on Chidester. (Bickerstaff Aff. at
2.) Sergeant Bickerstaff then entered the front of his police car
while Officer Thomas escorted Chidester to the back door of the
car. (Id.) While Officer Thomas was attempting to get Chidester
into the police car, a “scuffle” between the parties ensued. (Id.)
The precise actions that Officer Thomas took to control Chidester
during the “scuffle” are in dispute.

Officer Thomas then carried Chidester to the back of the squad
car, slammed his head on the trunk and forced Chidester to the
ground. (Am. Compl. at q IV.9, 11.) Officer Reynolds was within 20
feet of Officer Thomas during the incident. (Id. at q IV.16.) All
of these events were filmed by a camera inside Sergeant
Bickerstaff’s police car. (Id. at l IV.lO.) Chidester alleges that
he suffered injuries to his head and inner elbow. (Id. at q IV.17.)
Chidester also alleges that after the incident Officers Morris,
Reynolds, and Landry' participated. in an attempt to “cover-up”
Officer Thomas' alleged excessive use of force by participating in
an inadequate investigation of the arrest. (Id. at TI IV.30-35.)

Chidester filed his complaint in the district court on July

15, 2002. Morris, Reynolds, and Landry' were not named in the

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original complaint. The complaint did list “other unnamed deputies
of Shelby County” as defendants. The case was stayed pending the
completion of related criminal prosecutions. Those matters have
been resolved, and the case was reopened on May 11, 2004. Shelby
County provided Chidester with the County’s Fed. R. Civ. P. 26
“initial disclosures” statement on August 3, 2004. (Pl.'s Resp. at
j 14.) The “initial disclosures” statement identified Officers
Landry, Morris, and Reynolds as having played a role in Chidester's
arrest and/or the Sheriff Department’s subsequent investigation of
the arrest. Chidester filed an amended complaint on December 22,
2004, adding as defendants Officers Reynolds, Morris and Landry.
II. Jurisdiction

Because this case arises under federal law, the court has
jurisdiction under 28 U.S.C. § 1331. The court has supplemental
jurisdiction to adjudicate state law claims arising from a common
nucleus of operative facts under 28 U.S.C. § 1367(a).
III. Standard of Review For Dismissal Under Rule 12(b)(6)

“Under the liberal notice pleading rules, a complaint need
only put a party on notice of the claim being asserted against it

to satisfy the federal rule requirement of stating a claim upon

which relief can be granted.” Memphisl Tenn. Area Locall Am. Postal

WOrkerS' Ul'lj.Onl AFL-CIO V. Cityj Of Memphis, 361 F.3d 898, 902 (6t.h

Cir. 2004). When considering a motion to dismiss for failure to

state a claim, the court regards all factual allegations in the

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complaint as true. Scheid v. Fannv Farmer Candv Shops, Inc., 859
F.2d 434, 436 (6th Cir. 1988). Further, the court must construe the
complaint in the light most favorable to the plaintiffs.” Memphisl
Tenn. Area Local, Am. Postal Workers’ Union, 361 F.3d at 902. If
the plaintiff can prove no set of facts that would entitle him to
relief based on a viable legal theory, the claim will be dismissed.
SCheid, 859 F.2d at 437.

“The Federal Rules of Civil Procedure do not require a
claimant to set out in detail all the facts upon which he bases his
claim.” Conley' v. Gibson, 355 U.S. 41, 47 (1957). “To avoid
dismissal under Rule 12(b)(6), a complaint must contain either
direct or inferential allegations with respect to all material
elements of the claim.” Wittstock v. Mark a Van Silec Inc., 330
F.3d 889, 902 (6th Cir. 2003). There is no increased pleading
standard for claims alleging municipal liability under 42 U.S.C. §
1983. Leatherman v. Tarrant CountV Narcotics Intelliqence &
Coordination Unit, 507 U.S. 163, 165-66 (1993).

IV. Analysis

A. Official Capacity Claims Against Landry, Morris and
Reynolds

The Amended Complaint names Landry, Morris and Reynolds as
defendants in their personal and official capacities. Official
capacity suits “generally represent only another way of pleading an
action against an entity of which an officer is an agent.” Monell

v. New York CitV Dept. of Social Services, 436 U.S. 658, 690 n. 55

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(1978). “As long as the government entity receives notice and an
opportunity' to respond, an official-capacity suit is, in all
respects other than name, to be treated as a suit against the
entity.” Kentuckv v. Graham, 473 U.S. 159, 165-66 (1985). Landry,
Morris and Reynolds are employed by Shelby County. Because
Chidester’s suit names Shelby County as a Defendant, naming these
three officers as defendants in their official capacities is
redundant. Chidester’s § 1983 claims against Landry, Morris and
Reynolds in their official capacities are DISMISSED.

B. Section 1983 Claims Against Officers Landry and Morris

The amended complaint naming Landry and Morris as defendants
was filed after the statute of limitations on Chidester’s civil
rights claims had expired.2 Landry and Morris argue that
Chidester’s § 1983 claims against them should be dismissed because
the filing date of the amended complaint does not relate back to
the filing date of the original complaint. Rather than address this
question, the court dismisses Chidester's § 1983 claims against
Landry and Morris because Chidester has failed to state a claim
against them for which relief can be granted.

Claims can only be brought under § 1983 when a plaintiff has
been deprived of a right protected by the Constitution or federal

law. 42 U.S.C. § 1983; see also Monroe v. Pape, 365 U.S. 167, 171

 

2 [T] he one~year statute of limitations for personal injury actions under
Tennessee law also applies to § 1983 actions brought for personal injuries in
Tennessee. S£ Berndt v. State of Tennessee, 796 F.2d 879, 883 (6th Cir. 1986)
(citing Tenn. Code Ann. § 28-3-104(a)).

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(1961). Chidester claims that his First, Fourth, Sixth and
Fourteenth Amendment rights were violated by the defendants. In
previous orders, however, this court has found. that the only
constitutional deprivation Chidester has suffered is to his Fourth
Amendment right against use of excessive force. (January 27, 2005
Order on Officer‘ Thomas' Motion to Dismiss and/or Motion for
Summary Judgment at 11.) The court has found that Chidester has no
§ 1983 clain\ for denial of his right to access to courts in
violation of the First and Fourteenth Amendments. (Id. at 8-9.) The
court has also held that Chidester has no § 1983 claim based on a
violation of his Sixth Amendment rights.3 (Id. at 9.)

Because Chidester's excessive force allegation is the only
claim he has under § 1983, no § 1983 claim can be sustained against
Landry and Morris. These two officers were not present at
Chidester’s arrest, and Chidester does not allege that they were
responsible for the beating. Chidester only alleges that Landry and
Morris participated in a cover-up after the beating occurred. (Am.
Compl. at IIV.31-35.) Consequently, they cannot be responsible for
using excessive force or for failing to prevent Officer Thomas from
using excessive force. Chidester's § 1983 claims against Officers

Landry and Morris are DISMISSED.

 

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The court has also held that Chidester has no claims for a civil
conspiracy under §§ 1983 and 1986. (June 14, 2005, Order on Chidester's Motion
to Reconsider at 11.)

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C. Section 1983 Claims Against Officer Reynolds

Officer Reynolds, who was present at the scene of Chidester's
arrest, also argues that Chidester's § 1983 claims against him
should be dismissed because the filing date of the amended
complaint does not relate back to the filing date of the original
complaint. Section 1983 does not contain a statute of limitations.
_§e 42 U.S.C. § 1983. The Sixth Circuit has held that the one-year
statute of limitations for personal injury actions under Tennessee
law also applies to § 1983 actions brought for personal injuries in
Tennessee. gee Berndt v. State of Tennessee, 796 F.2d 879, 883 (6th
Cir. 1986) (citing Tenn. Code Ann. § 28-3-104(a)). Chidester’s
arrest occurred on December 8, 2001. The original complaint was
filed on July 15, 2002. The original complaint included as
defendants Shelby County, Officer Thomas, and “unnamed sheriffs.”
The amended complaint, which added Reynolds as a defendant, was
filed on December 22, 2004. To maintain the suit against Reynolds,
Chidester must show that the amended complaint relates back to the
date the original complaint Was_filed.4

Relation back is governed by Federal Rule of Civil Procedure
15(c), which provides in pertinent part:

An amendment of a pleading relates back to the date of

 

4Chidester’s suit was stayed between September 23, 2002, and May 11, 2004,
pending the outcome of criminal proceedings. The court does not address whether
the statute of limitations was equitably tolled during the stay because the
aggregate amount Of time between the date of Chidester’s arrest and the date the
case was stayed, and between the date the stay was lifted and the date the
amended Complaint was filed, exceeds one year.

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the original pleading when

(2) the claim or defense asserted in the amended pleading

arose out of the conduct, transaction, or occurrence set

forth_ or attempted. to be set forth in the original

pleading, or

(3) the amendment changes the party or the naming of the

party against whom a claim is asserted if the foregoing

provision (2) is satisfied and, within the period

provided by Rule 4(m) for service of the summons and

complaint, the party to be brought in by amendment (A)

has received such notice of the institution of the action

that the party will not be prejudiced in maintaining a

defense on the merits, and (B) knew or should have known

that, but for a mistake concerning the identity of the

proper party, the action would have been brought against

the party.
The period provided by Fed. R. Civ. P. 4(m) is 120 days. Thus, for
an amendment changing the name of a defendant to relate back to the
filing date of the original complaint four criteria must be
satisfied: 1) the claim asserted against the new defendant must
arise out of the transaction. or occurrence set forth_ in the
original pleading; 2) the new defendant must have had notice of the
action within 120 days of the filing of the original complaint and
not be prejudiced in maintaining a defense; 3) the new defendant
knew or should have known that the plaintiff intended to include
him as a defendant in the original action; and 4) the plaintiff did
not include the new defendant in the original complaint because of
a mistake concerning the identity of the proper party. Fed. R. Civ.
P. is(c) (3).

Reynolds, citing Cox v. Treadway, 75 F.3d 230 (6th Cir. 1996),

argues that the amendment naming Reynolds as one of the unnamed

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officers is a change in parties, not a “mere substitution” of
parties, and does not relate back to the filing date of the
Original Complaint. In ggx, the plaintiffs’ original complaint
“sued ‘unnamed police officers' of the City of Louisville and
Kentucky State Police.” ida at 240. After the statute of
limitations on the plaintiffs’ claims had run, they filed an
amended complaint in which they named several City of Louisville
police officers in place of the “unnamed police officers.” lc_i4 The
court found that the addition of the named police officers did not
relate back to the filing date of the original complaint:

Sixth Circuit precedent clearly holds that new parties
may not be added after the statute of limitations has
run, and that such amendments do not satisfy the
“mistaken identity” requirement of Rule 15(c)(3)(B). The
amendment attempted by appellants clearly adds new
parties to the complaint.

The naming of “unknown police officers” in the original
complaint does not save the pleading. Substituting a
named defendant for a “John Doe” defendant is considered
a change in parties, not a mere substitution of parties.
Therefore, the requirements of Fed. R. Civ. P. 15(c) must
be met in order for the amendment adding the named
defendant to relate back to the filing of the original
complaint.

Id. The court, however, recognized the “imputed knowledge doctrine”
as an exception to the otherwise strict rule that substitution of
a named defendant for a “John Doe” defendant does not relate back:
[Plaintiffs] cannot benefit from the “imputed knowledge”
doctrine of Berndt v. Tennessee because the City' of
Louisville was never named as a defendant in this case.
In. Berndt, knowledge was imputed. to the newly' added

defendants because they were officials of the originally
named defendant, the State of Tennessee.

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In Berndt, the court found that “imputed knowledge” may
satisfy the notice requirements for relation back under Rule 15(c):
We believe that Rule 15(c) does not require that the new
defendants received actual notice. lt is enough that the
new defendants received constructive notice of the suit.
Under some circumstances, notice can also be imputed to
a new defendant. Even more pertinent to this case, where
the complaint alleges in substance that the new
defendants committed the illegal acts and are officials
of the original defendant, that relationship may imply

receipt of sufficient notice.
Berndt, 796 F.2d at 884. Reading Cox and Berndt together
demonstrates that in the Sixth Circuit the substitution of a named
defendant for a “John Doe” defendant may relate back when the named
defendant had imputed knowledge of the original suit. In Daily v.
Monte, 26 F.Supp.2d 984 (E.D. Mich. 1998), after analyzing Cox and
Berndt, the court held that the substitution of named individuals
for “John Doe” defendants may relate back to the filing date of the
original complaint if “the complaint alleges in substance that the
new defendants committed the illegal acts and are officials of the
original defendant” because “that relationship may imply receipt of
sufficient notice.” Id. at 987.

To conclude that the addition of Reynolds does not relate back
to the filing date of the original Complaint, the court must find
that Reynolds did not have imputed knowledge of Chidester's suit.

The Berndt court, in its discussion of imputed knowledge, stated:

All that we add concerning the inquiry of whether the new
defendants knew or should have known that the suit should

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have been brought against them is that it is a patently
factual inquiry and left to the district court.

Berndt, 796 F.2d at 884. Whether Reynolds had imputed knowledge of
Chidester's suit is not a question that the court can answer as a
matter of law.5 Reynolds was an officer of Shelby County, and the
County was a named defendant in the original Complaint. Thus, it is
possible that Reynolds had imputed knowledge of Chidester's suit.
§ee id; Reynolds' motion to dismiss Chidester's § 1983 suit against
Reynolds is denied.
V. Conclusion

For the foregoing reasons, defendants Landry's and Morris’
motions to dismiss are GRANTED. Defendant Reynolds’ motion to

dismiss is DENIED.

So ordered this !§N{ day of June 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

SReynolds’ reply brief makes various factual allegations about whether or
not Reynolds had notice of the suit. The allegations, however, are not supported
by affidavits or other evidentiary filings and are not appropriately considered
on a motion to dismiss.

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UNITED STATES DISTRIC COURT - WESTERN DISTRICT OF TENNESSEE

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This notice confirms a copy of the document docketed as number 125 in
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.1 can Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

1\/1emphis7 TN 38103

Christopher Lee BroWn

GOTTEN WILSON SAVORY & BEARD, PLLC
88 Union Ave.

14th Floor

1\/1emphis7 TN 38103

Henry L. Klein

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

1\/1emphis7 TN 38119--397

Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY
242 Poplar Ave.

1\/1emphis7 TN 38103

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
1\/1emphis7 TN 38122--372

Eugene C. Gaerig

LAW OFFICES OF EUGENE C. GAERIG
100 N. Main Street

Ste. 31 18

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

